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  1996R043951ewm


                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                        :       Criminal No. 02-7 14 (WHW)

                   v.

  SALOMON CAMACHO MORA,
   a/k/a “El Viejo,”
   a/k/a “Papa Grande,”
   a/k/a “Hector,”
  HERMAGORAS GONZALEZ-POLANCO,:
   a/k/a “Armando Gonzalez Apushana,”
   a/k/a “Gordito Gonzalez,”          :                                  ORDER
   a/k/a “Milciades,”
  MARCOS IVAN ESPINOZA DE LEON,
   a/k/a “Marquitos,”
  FNULNU,
   a/k/a “Raffi,” and
  HECTOR FABIO GARCIA,
   a/k/a “Rubin”



                   This matter having been opened to the Court on the application of Paul 3.

  Fishman, United States Attorney for the District of New Jersey (Rodney C. Villazor, Assistant

  U.S. Attorney, appearing), and counsel for defendant SALOMON CAMACHO MORA, a/k/a “El

  Viejo,” a/k/a “Papa Grande,” a/k/a “Hector” (William A. Clay, Esq., appearing) having

  consented to the instant order, and good cause having been shown, the Court makes the following

  findings:

                   1. This case is sufficiently complex, due to the nature of the prosecution, and it is

 unreasonable to expect adequate preparation for pretrial proceedings and trial within the time

 limits established by Title 18, United States Code, Section 3161. For example, the case involves
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  numerous defendants, and numerous recorded calls that took place over the course of an

  extended period of time and involve the review, translation, transcription, and production of

  same.

                  2.      The defendant is alleged to be a members of an international narcotics

  organization whose goal it was to smuggle cocaine from Colombia and elsewhere into the United

  States and to launder the proceeds of such activity. The allegations attendant with this case

  involve evidence from multiple countries.

                 3.      Plea negotiations are currently in progress, and both the United States and

  the defendant desires additional time to negotiate a plea agreement, which would render a trial of

  this matter unnecessary. Defendant has requested the aforementioned second continuance, and

  the United States has consented.

                 4. The ends ofjustice served by a continuance of the trial date in this matter until

  January 10, 2011 outweigh the interest of the public and the defendant in a speedy trial.

                 IT IS, therefore, on this/i. day of July, 2010,

                 ORDERED that the trial date in this matter is continued until January 10, 2011,

  and that the period of time from the date this Order is entered through January 10, 2011 shall be

  excluded for the purposes of computing time under the Speedy Trial Act pursuant to 18 U.S.C.

  § 31 61(h)(7)(A), (h)(7)(B)(ii), (h)(7)(B)(iv); and it is further ORDERED that pre-trial motions
  shall be filed upon further order of the Court.




                                                          United      District Judge


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  Form and entry




  RCfbNEY c. \‘$1\>QP
  Assistant U.S. / llorne



    (see attached)
  William A, Clay, Esq.
  Counsel for defendant SALOMON CAMACHO MORA




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         /                                     UNiTED STATES DISTRICT COURT

    V            UNITED STATES OF AMERICA
                                                  DISTRICT OF NEW JERSEY


                                                                        Criminal No. 02-714 (WHW)

                                 V.


                 SALOMON CAMACHO MORA,
                  alicia “El Viejo,”
                  a/k/a “Papa Grande,”                                                                               (1AI
                  a/k/a “Hector,”
                 HERMAGORAS GONZALEZ-POLANCO,:
                  a/k/a “Armando Gonzalez Apushana,”
                                                                                        ftOflO
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